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Request About Someone Else

Step 2 of 5 - Specify the Nature of Your Request

Select all types of records you are requesting - required

fF you request specific documents, USCIS will usually be able to process your request faster than if you request a large set of records, such as an entire A-File.

Select the types of records you are requesting, if applicable, from this list of commonly requested records:

Apprehensions

Birth Certificate

-94

Passport

Other Arrival/Departure documents into the U.S.

|-129, Petition for a Nonimmigrant Worker

I-90, Application to Replace Permanent Resident Card (Green Card)
|-130, Petition for Alien Relative

1-140, Immigrant Petition for Alien Workers

-485, Application to Register Permanent Residence or Adjust Status
|-751, Petition to Remove Conditions on Residence

N-400, Application for Naturalization

Labor certification issued by the U.S. Department of Labor
Naturalization Certificate

Proof of Lawful Permanent Resident (LPR) status

Record of removal from the U.S.

Other

and your PC Q
